           Case 6:21-cv-00474-AA                Document 50-8            Filed 08/06/21   Page 1 of 8




                                 DORDT                      COLLEGE
October 1, 2015

Catherine Lhamon, Assistant Secretary
U.S. Department of Education, Office for Civil Rights
Lyndon Baines Johnson Department of Education Building
400 Maryland A venue, SW
Washington, DC 20202-1100

         Re:       Request for Religious Exemption from Certain Applications of Title IX

Dear Ms. Lhamon:

         I hereby request, under 20 U.S.C. § 168 l(a)(3) and 34 C.F.R. § 106.12, that the Department
of Education's Office for Civil Rights acknowledge that Dordt College is exempt from Title IX of
the Education Amendments of 1972 and its accompanying regulations to the extent that they are
interpreted to curtail the College's freedom to respond to transgender individuals in accordance
with its religious convictions. As President of Dordt College, I am the "highest ranking official of
the institution," 34 C.F.R. § 106.12(b), and thus qualified to seek these exemptions.

        Dordt is a non-profit institution of higher education associated with the Christian Reformed
Church in North America, located in Sioux Center, Iowa. 1 The College opened its doors in 1955
with the purpose of training Christian day school teachers. Dordt College takes its name in honor
of the historic Reformed synod held in Dordrecht, the Netherlands, in 1618-1619, a synod which
emphasized the sovereignty of God through his electing grace-a theological distinctive that
guides the College as an institution into the present day. 2 From this foundation in the Reformed
Christian perspective, Dordt equips students, alumni, and the broader community to work
effectively toward Christ-centered renewal in all aspects of contemporary life.3 As a fulfillment
of its mission, Dordt provides a holistic learning experience in which classroom and other
educational activities, infused with a kingdom perspective, work hand-in-hand with every other
aspect of a student's experience. Dordt's curriculum is designed to help students develop Christian
insight in every facet of their lives. 4

        Dordt College's mission and educational framework is shaped by the fact that the College
is owned and controlled by an incorporated society composed entirely of members of the Christian
Reformed Church in North America 5 (CRCNA). It is governed by a Board of Trustees made up
of 18 to 30 individuals. The board's membership includes a predominance of members elected by
the society from the Christian Reformed Church. These board members represent geographical

1
   http://www.dordt.edu/about/.
2
   http://www.dordt.edu/about/our_mission/developing_history    .shtml.
3
   http://www.dordt.edu/about/our _mission/.
 1
• http://www.dordt.edu/about/our_mission/christian_learning_community.shtml.
5
   http://www.crcna.org/welcome/beliefs.

                                           OFFICE     OF THE PRESIDENT

                  498 Fourth Avenue NE Sioux Center, Iowa 51250 -1606 Phone 712-722-6002
EXHIBIT H                                                                                               1
             Case 6:21-cv-00474-AA               Document 50-8            Filed 08/06/21   Page 2 of 8

Letter to Catherine Lhamon
October 1, 2015
Page 2 of 5

districts in the CRCNA. In addition, a minority of at-large board members represent various other
Reformed churches. Dordt has enjoyed the committed and faithful support of a loyal constituency
for more than half a century, since its inception in 1955.6

          Dordt states its mission as follows: "As an institution of higher education committed to
the Reformed Christian perspective, Dordt College equips students, alumni, and the broader
community to work effectively toward Christ-centered renewal in all aspects of contemporary
life." 7 From this mission, Dordt's four-facet educational framework molds the College's entire
curriculum, which is designed to develop students' Christian insight into every area of their lives-
academically, spiritually, and professionally. Below are some of the student outcomes the College
measures through its framework.

                •   Religious orientation: Who owns your heart?
                           Graduates will demonstrate the ability to recognize the Bible's main themes
                           and teachings and its guiding role in a life of Christian discipleship.
                           Graduates will demonstrate a commitment to living a life of Christian
                           discipleship and to transforming those features of our culture that oppose
                           Christ's rule.
                •   Creational structure: How do things hang together?:
                           Graduates will demonstrate an understanding that all of reality has been
                           structured by God, that he faithfully preserves it through his laws, and that
                           he unifies it in Christ Jesus as its sovereign head.
                           Graduates will demonstrate the ability to use the ideas, theories, and
                           procedures from a variety of disciplines.
                •   Creational development: How did we get where we are today?
                           Graduates will demonstrate an understanding of how our world has
                           developed historically.
                           Graduates will demonstrate an ability to evaluate formative influences and
                           to contribute to reformation within their paiticular disciplines and vocations
                           and in common areas of life.
                •   Contemporary response: What should we do now?
                           Graduates will demonstrate the insights, skills, and strategies needed to
                           serve in their vocations and the common tasks of adult life.
                           Graduates will demonstrate increasing wisdom, rooted in a mature fear of
                           the Lord, in their understanding of his world and their service to his
                           kingdom.

       On August 14, 2015, the College's Board of Trustees adopted a policy on sexual standards
and conduct. It reads in pertinent part as follows:




6
    hup://www .dordt.edu/about/our_mission/supporti   ve_consti tuenc y .shtml.
7 hup://www.dordt.edu/about/our_mission/.




    EXHIBIT H                                                                                            2
           Case 6:21-cv-00474-AA                Document 50-8             Filed 08/06/21         Page 3 of 8

Letter to Catherine Lhamon
October l, 2015
Page 3 of 5

SEXUALITY, GENDER IDENTITY, AND SEXUAL CONDUCT
     7.2.4.1 INTRODUCTION
         Dordt College is committed to a policy that maintains an environment where employees, faculty, staff, and
         students abide by biblical injunctions regarding sexual activity and refrain from sexual immorality. It is the
         responsibility of every Dordt College employee and student to live Christianly in harmony with the guidance
         of Scripture as interpreted and set forth in the reformed confessions. Scripture is clear that God created
         humans as two distinct sexes, male and female; however, due to sin and brokenness, our experience of sex
         and gender is not always what God the Creator originally designed for His glory and our joy and flourishing
         as his servants.
             A person's desire for sexual intimacy is a creational and often very strong characteristic in human nature.
         Dordt College believes, based on its understanding and interpretation of the Bible that the only appropriate
         and permissible context in which sexual intimacy may be expressed as overt sexual interaction is in the
         marriage partnership of a man and a woman. Dordt College is committed to being a community where its
         employees and students live according to God's creational structure and abide by these Biblical injunctions
         for marriage and sexual activity. The college expects all students, faculty, and staff to live in accord with thi_s
         understanding of sexual interaction as long as they are members of the college community.
             Dordt College believes that the Bible encourages us to maintain a loving and supportive attitude towards
         each other and that there should be mutual respect for members of the opposite sex, as well as a loving and
         supportive attitude toward those who struggle with restricting their sexual interaction to marriage. The
         college will make effo1·ts to work in a counseling context with individuals who find it difficult to restrict
         their sexual activity within the institution of marriage.
             Do1·dt College is committed to maintaining an environment free of sexual harassment. Members of our
         community have the right to work, study, and communicate with each other in an atmosphere free from
         unsolicited and unwelcomed communication of a sexual nature. The anti-harassment policy and procedures
         are intended to provide fair and equitable treatment of both the complainant and the alleged harasser.
             All students and employees are responsible to determine if they can abide by Dordt' s sexual standards
         and conduct policy. If any individual doubts or c1uestions his or her ability to do so, that person should speak
         to the area leader, or director of human resources, or dean of campus life to receive guidance and/ or
         instruction.
     7.2.4.2 UNACCEPTABLE CONDUCT
         Dordt College specifically holds as unbiblical and therefore prohibited:
         A. Promoting or advocating sexually immoral activity. This does not prohibit members of various academic
             disciplines, including students and faculty, from studying, discussing, viewing films or other media
             about, or examining such issues as they affect individuals, society, or others.
         B. Extramarital sexual relations. Sexual activity with anyone other than with one's spouse is prohibited.
         C. Homosexual relations. It is unacceptable to have sexual relations with someone of the same sex as long
             as one is a member of the Dordt community, whether on or off campus. Dordt College also prohibits
             promoting or advocating such activity.
         D. Transgendered Behavior. Adopting an identity discordant with one's biological sex is prohibited.

For those persons in our community who struggle with restricting their sexual interaction to marriage, as well as for
those in our community who struggle with gender identity, same sex behavior, same sex attraction and/ or sexual
orientation issues, we aspire to be a gracious community that promotes openness and honesty. We pledge to extend
compassion and care, providing assistance and accountability as we support all members of our community in their
desire to live consistently with the Bible's teaching on sexual purity. Dordt College will make institutional decisions
in light of this policy regarding employment, hiring, retention of employees, and continued enrollment of students.
Dordt College may determine that, as the result of conduct described as prohibited in 7 .2.4.2, an individual shall be
dismissed from the college.




 EXHIBIT H                                                                                                                 3
            Case 6:21-cv-00474-AA                Document 50-8            Filed 08/06/21          Page 4 of 8

Letter to Catherine Lhamon
October 1, 2015
Page 4 of 5

        In the employment context, both applicants and existing employees are required to affirm
their commitment to the College's Sexual Standards and Conduct: Statement of Policy Regarding
the Christian Lifestyle at Dordt College. 8

        As you know, the Office for Civil Rights has not issued regulations or guidance explaining
how an educational institution's response to a transgender individual might violate Title IX and its
accompanying regulations, though the Department of Education recently issued guidance on
sexual violence prevention which incorporates discrimination based on "gender identity" as part
of "sex discrimination" under the statute. 9 And as you also know, the resolution agreement 10
between the Arcadia Unified School District and ED OCR (and the Department of Justice) requires
the school district to permit transgender students to use the restroom, locker room, and living
accommodations of their choice, and to participate in athletic programs as a member of their
chosen sex. 11 It is thus reasonable to suppose that ED OCR believes that such responses are
required by Title IX. It is also reasonable to presume that your office interprets Title IX to impose
gender identity non-discrimination obligations upon covered institutions in the employment
context. To the extent these suppositions are correct, it appears as though compliance with Title
IX, as interpreted by ED OCR to reach transgender "discrimination," would be inconsistent with
the religious tenets of DC.

        Dordt College accordingly requests that your office acknowledge that the College is
exempt from Title IX and the following implementing regulations (to the extent they are
interpreted to reach gender identity discrimination):

           34 C.F.R. § 106.2 l (admission)
           34 C.F.R. § 106.22 (preference in admission)
           34 C.F.R. § 106.23 (recruitment)
           34 C.F.R. § 106.31 (education programs or activities)
           34 C.F.R. § 106.32 (housing)
           34 C.F.R. § 106.33 (comparable facilities)
           34 C.F.R. § 106.34 (access to classes and schools)
           34 C.F.R. § 106.36 (counseling)
           34 C.F.R. § 106.37 (financial assistance)
           34 C.F.R. § 106.38 (employment assistance to students)
           34 C.F.R. § 106.39 (health and insurance benefits and services)
           34 C.F.R. § 106.40 (marital or parental status)
           34 C.F.R. § 106.41 (athletics)


8 Dordt College  Faculty Handbook, Dordt College Staff Handbook, p.13.
9
  U.S. Department of Education, Questions and Answers on Title IX and Sexual Violence, available at
http://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-ix.pdf       at 5 ("Title IX's sex discrimination prohibition
extends to claims of discrimination based on gender identity or failure to conform to stereotypical notions of
masculinity or femininity and OCR accepts such complaints for investigation.").
10
   Resolution Agreement Between the Arcadia Unified School District, the U.S. Department of Education, Office for
Civil Rights, and the U.S. Department of Justice, Civil Rights Division, available at:
http://www.justice.gov/siles/default/files/crt/legacy/2013/07    /26/arcadiaagree.pd f -
II   Id.




     EXHIBIT H                                                                                                             4
         Case 6:21-cv-00474-AA        Document 50-8       Filed 08/06/21     Page 5 of 8

Letter to Catherine Lhamon
October 1, 2015
Page 5 of 5

       34 C.F.R. § 106.43 (standards for measuring skill or progress in physical education
       classes)
       34 C.F.R. § 106.51-61 (relating to employment)

       Thank you in advance for your consideration. I look forward to hearing from you soon. If
you require anything further, please do not hesitate to contact me.




                                                    Dr. Erik Hoekstra
                                                    President
                                                    Dordt College




 EXHIBIT H                                                                                    5
         Case 6:21-cv-00474-AA               Document 50-8            Filed 08/06/21        Page 6 of 8


                           UNITED STATES DEPARTMENT OF EDUCATION
                                              OFFICE FOR CIVIL RIGHTS
                                                                                      THE ASSISTA1'\IT
                                                                                                     SECRETARY



                                              September 7, 2016

Erik Hoekstra
President
Dordt College
498 Fourth Avenue NE
Sioux Center, IA 51250

Dear President Hoekstra:

I write to respond to your October l, 2015, letter to the U.S. Department of Education's Office
for Civil Rights (OCR), in which you requested a religious exemption for Dordt College
(College) of Sioux Center, Iowa, from Title IX of the Education Amendments of 1972 (Title IX),
20 U.S.C. § 1681. Title IX prohibits discrimination on the basis of sex in any education program
or activity operated by a recipient of Federal financial assistance.

Title IX and its implementing regulation at 34 C.F.R. § 106.12 provide that Title IX does not
apply to an educational institution controlled by a religious organization to the ex1ent that
application of Title IX would be inconsistent with the controlling organization's religious tenets.
Therefore, such educational institutions are allowed to request an exemption from Title IX by
identifying the provisions of Title IX that conflict with a specific tenet of the religious
organization. The request must identify the religious organization that controls the educational
institution and specify the tenets of that organization and the provisions of the law or regulation
that conflict with those tenets.

Your request letter explains that the College is an "institution of higher education associated with
the Christian Reformed Church in North America." According to your letter, "the College is
owned and controlled by an incorporated society composed entirely of members of the Christian
Reformed Church in North America (CRCNA)" and is "governed by a Board of Trustees" the
membership of which "includes a predominance of members elected by the society from the
Christian Reformed Church_., Your letter explains that ·'the College's Board of Trustees adopted
a policy on sexual standards and conduct" and that "[i]n the employment context, both applicants
and existing employees are required to affirm their commitment to the College's Sexual
Standards and Conduct: Statement of Policy Regarding the Christian Lifestyle at Dordt College."

Your letter requests an exemption from the provisions of Title IX '·to the extent they are
interpreted to reach gender identity discrimination." In support of this request, your letter cites
to the College's policy on sexual standards and conduct. According to your letter, that policy




                              400 MARYLAND AVE. S. W., WASHINGTON, DC 20202-1100
                                                     www.ed.gov
   111eDepartment of Education's mi5sion is to promote student achievement and prepamtion for global competitiveness
                             by fostering educational excellence and ensuring equal access.
EXHIBIT H                                                                                                              6
         Case 6:21-cv-00474-AA          Document 50-8        Filed 08/06/21     Page 7 of 8
Erik Hoekstra - page 2


states that "Scripture is clear that God created humans as two distinct sexes, male and female;
however, due to sin and brokenness, our experience of sex and gender is not always what God
the Creator originally designed for His glory and our joy and flourishing as his servants" and
that, as a result, "[a]dopting an identity discordant with one's biological sex is prohibited" at the
College.

You state that, for these reasons, the College is requesting an exemption from the foilowing
regulatory provisions "to the extent they are interpreted to reach gender identity discrimination:"

   •   34 C.F.R. § 106.21 (governing admissions);
   •   34 C.F.R. § 106.22 (governing preference in admissions);
   •   34 C.F.R. § 106.23 (governing recruitment of students);
   •   34 C.F.R. § 106.31 (governing education programs or activities);
   •   34 C.F.R. § l 06.32 (governing housing);
   •   34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker
       rooms);
   •   34 C.F.R. § 106.34 (governing access to classes and schools);
   •   34 C.F .R. § 106.36 (governing counseling);
   •   34 C.F.R. § 106.37 (governing financial assistance);
   •   34 C.F.R. § 106.38 (governing employment assistance to students);
   •   34 C.F.R. § 106.39 (governing health insurance benefits and services);
   •   34 C.F.R. § 106.40 (governing different rules based on marital or parental status of
       students);
   •   34 C.F.R. § 106.41 (governing athletics);
   •   34 C.F.R. § 106.43 (governing standards for measuring skill or progress in physical
       education classes); and
   •   34 C.F.R. § 106.51-61 (governing employment).

The College is exempt from these provisions to the extent that they prohibit discrimination on
the basis of gender identity and compliance would conflict with the controlling organization's
religious tenets.

Please note that this letter should not be construed to grant exemption from the requirements of
Title IX and the regulation other than as stated above. In the event that OCR receives a
complaint against your institution, we are obligated to determine initially whether the allegations
fall within the exemption here granted. Also, in the unlikely event that a complainant alleges
that the practices followed by the institution are not based on the religious tenets identified in
your request, OCR is obligated to identify a controlling organization to contact to verify those
tenets. If the organization provides an interpretation of tenets that has a different practical
impact than that described by the institution, or if the organization denies that it controls the
institution, this exemption will be rescinded.




EXHIBIT H                                                                                               7
        Case 6:21-cv-00474-AA          Document 50-8       Filed 08/06/21      Page 8 of 8
Erik Hoekstra - page 3



I hope this letter responds fully to your request. If you have any questions, please do not hesitate
to contact me.

                                                      Sincerely,



                                                      Catherine E. Lhamon
                                                      Assistant Secretary for Civil Rights
                                                      U.S. Department of Education




EXHIBIT H                                                                                          8
